Information to identify the case:
Debtor
                   JMP Hospitality, Inc                                                        EIN 72−1412079
                   Name


United States Bankruptcy Court Western District of Louisiana
                                                                                               Date case filed for chapter 11 4/29/21
Case number: 21−20122

Official Form 309F2 (For Corporations or Partnerships under Subchapter V)
Notice of Chapter 11 Bankruptcy Case                                                                                                                   10/20

For the debtor listed above, a case has been filed under chapter 11 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtor or the debtor's property. For example, while the stay is in effect, creditors cannot sue, assert a deficiency, repossess property, or
otherwise try to collect from the debtor. Creditors cannot demand repayment from the debtor by mail, phone, or otherwise. Creditors who violate the stay
can be required to pay actual and punitive damages and attorney's fees.
Confirmation of a chapter 11 plan may result in a discharge of debt. A creditor who wants to have a particular debt excepted from discharge may be
required to file a complaint in the bankruptcy clerk's office within the deadline specified in this notice. (See line 12 below for more information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at https://pacer.uscourts.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

Do not file this notice with any proof of claim or other filing in the case.

  1. Debtor's full name                       JMP Hospitality, Inc


  2. All other names used in the dba Holiday Inn Express
     last 8 years


  3. Address                                  401 North MLK Highway
                                              Lake Charles, LA 70601

  4. Debtor's attorney                        Wade N. Kelly                                              Contact phone (337) 419−2236
       Name and address                       1827 Ryan Street
                                              Lake Charles, LA 70601                                     Email: staff@wadekellylaw.com


  5. Bankruptcy trustee                       Lucy G. Sikes (Ch 11 Sub V Trustee)                        Contact phone (337) 366−0214
      Name and address                        P.O. Box 52545
                                              Lafayette, LA 70505−2545                                   Email: sikesecf@gmail.com


  6. Bankruptcy clerk's office                                                                            Hours open:
                                                                                                          Office Hours Monday − Friday 8:00AM − 4:00
       Documents in this case may be filed                                                                PM, Electronic Filing Access 24/7
      at this address.                        800 Lafayette Street, Suite 1200
      You may inspect all records filed in    Lafayette, LA 70501
      this case at this office or online at                                                               Contact phone (337) 262−6800
      https://pacer.uscourts.gov.
                                                                                                          Date: 4/30/21

                                                                                                           For more information, see page 2 >




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Debtor JMP Hospitality, Inc                                                                                                      Case number 21−20122


  7. Meeting of creditors                    May 27, 2021 at 01:30 PM                                      Location:
       The debtor's representative must
      attend the meeting to be questioned The meeting may be continued or adjourned to a later             Teleconference: 866−762−6425,
      under oath.                         date. If so, the date will be on the court docket.               Passcode: 8530051#
      Creditors may attend, but are not
      required to do so.
                                                   *** Valid photo identification required ***


  8. Proof of claim deadline                 Deadline for filing proof of claim:                          Not yet set. If a deadline is set, the court will
                                                                                                          send you another notice.
                                             A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained
                                             at www.uscourts.gov or any bankruptcy clerk's office.
                                             Your claim will be allowed in the amount scheduled unless:
                                             • your claim is designated as disputed, contingent, or unliquidated;
                                             • you file a proof of claim in a different amount; or
                                             • you receive another notice.
                                             If your claim is not scheduled or if your claim is designated as disputed, contingent, or unliquidated, you
                                             must file a proof of claim or you might not be paid on your claim and you might be unable to vote on a
                                             plan. You may file a proof of claim even if your claim is scheduled.
                                             You may review the schedules at the bankruptcy clerk's office or online at https://pacer.uscourts.gov.
                                             Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a
                                             proof of claim submits a creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer
                                             can explain. For example, a secured creditor who files a proof of claim may surrender important
                                             nonmonetary rights, including the right to a jury trial.


  9. Exception to discharge                  If § 523(c) applies to your claim and you seek to have it
     deadline                                excepted from discharge, you must start a judicial
       The bankruptcy clerk's office must    proceeding by filing a complaint by the deadline stated
      receive a complaint and any            below.
      required filing fee by the following   Deadline for filing the complaint:                             __________
      deadline.


                                              If you are a creditor receiving notice mailed to a foreign address, you may file a motion asking the court to
  10. Creditors
      address
                with a foreign                extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you
                                              have any questions about your rights in this case.


                                             Chapter 11 allows debtors to reorganize or liquidate according to a plan. A plan is not effective unless the
                                             court confirms it. You may receive a copy of the plan and a disclosure statement telling you about the plan,
  11. Filing a Chapter 11
      bankruptcy case
                                             and you may have the opportunity to vote on the plan. You will receive notice of the date of the confirmation
                                             hearing, and you may object to confirmation of the plan and attend the confirmation hearing. The debtor will
                                             generally remain in possession of the property and may continue to operate the debtor's business.


                                             Confirmation of a chapter 11 plan may result in a discharge of debts, which may include all or part of your
                                             debt. See 11 U.S.C. § 1141(d). A discharge means that creditors may never try to collect the debt from the
  12. Discharge of debts                     debtor except as provided in the plan. If you want to have a particular debt owed to you excepted from the
                                             discharge and § 523(c) applies to your claim, you must start a judicial proceeding by filing a complaint and
                                             paying thefiling fee in the bankruptcy clerk's office by the deadline.




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